Case 4:20-cv-00957-SDJ   Document 704-20 Filed 12/09/24   Page 1 of 5 PageID #:
                                    39341




                   EXHIBIT 195
                         REDACTED
Case 4:20-cv-00957-SDJ                                                                                                                                                                                                                       Document 704-20 Filed 12/09/24                                                                                                                                                                                                                                                                                                                                                                     Page 2 of 5 PageID #:
                                                                                                                                                                                                                                                        39342
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Wilbur 30(b)(6)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Exhibit

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        72
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            4/12/24 Carrie Campbell, RDR

CONFIDENTIAL
‭
                                                                                                                             ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        New York




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
    Via Email                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           3 World Trade Center




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        175 Greenwich Street
    ‭
                                                     ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
    Zeke DeRose III                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     New York, NY 10007




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        T +1 212 284 4910
    ‭
                                                                                                                 ‬
    The Lanier Law Firm, PC




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        F +1 646 521 5710
    ‭
                                                                                                                                                                                                     ‬
    Zeke.DeRose@lanierlawfirm.com




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        E rob.mccallum@freshfields.com
    ‭
                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        www.freshfields.com




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
    Joseph M. Graham, Jr.
    ‭
                                                                                                                                                                 ‬
    Geraldine Young
    ‭
                                                                                                                     ‬
    Marc B. Collier
    ‭
                                                                                                     ‬
    Norton Rose Fulbright US LLP
    ‭
                                                                                                                                                                                                                                                         ‬
    joseph.graham@nortonrosefulbright.com
    ‭
                                                                                                                                                                                                                                                                                                                                                 ‬
    geraldine.young@nortonrosefulbright.com
    ‭
                                                                                                                                                                                                                                                                                                                                                                      ‬
    marc.collier@northrosefulbright.com
    ‭
                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                    April 9, 2024
                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
Re:                          State of Texas et al. v. Google LLC, No. 4:20-cv-957-SDJ (E.D. Tex.)
‭
        ‬
                             ‭
                                                                                                                                                                                                                                                                                                                                                             ‬‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
Counsel,
‭
                                 ‬
        Google provides this letter as its written statement in advance of the upcoming 30(b)(6)
                             ‭
                                                                             ‬
                                                                                         ‭
                                                                                                                                                                         ‬
                                                                                                                                                                                     ‭
                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                                                                                                                  ‬
                                                                                                                                                                                                                                                                                                                                                                                                          ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
depositions on Topics 71, 72, and 73 concerning (1) GAM, (2) DFP, (3) AdX, (4) AdX Direct,
‭
                                                 ‬
                                                         ‭
                                                                             ‬
                                                                                         ‭
                                                                                                                                                 ‬
                                                                                                                                                             ‭
                                                                                                                                                                                                 ‬
                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                              ‬
                                                                                                                                                                                                                                                                                                                                                                                                                  ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
and (5)       contracts, and confirms the following information with respect to the association
‭
        ‬
            ‭
                             ‬
                                                                         ‬
                                                                                     ‭
                                                                                                                                                                             ‬
                                                                                                                                                                                         ‭
                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                  ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                   ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
between the main template contracts (if any) and the customers who use those contracts.
‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
GAM. Google Ad Manager (“GAM”) is Google’s platform that offers publisher ad serving
‭
                    ‬‭
                         ‬
                                 ‭
                                                                                             ‬
                                                                                                         ‭
                                                                                                                                 ‬
                                                                                                                                         ‭
                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                      ‬
                                                                                                                                                                                                                                                                                                                                                                              ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
functionalities on its ad server, formerly known as DoubleClick for Publishers (“DFP”) and ad
‭
                                                                         ‬
                                                                                     ‭
                                                                                                                 ‬
                                                                                                                         ‭
                                                                                                                                     ‬
                                                                                                                                             ‭
                                                                                                                                                                         ‬
                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                                                                                                                      ‬
                                                                                                                                                                                                                                                                                                                                                                                                              ‭
                                                                                                                                                                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
exchange functionalities on DoubleClick AdExchange (“AdX”). Publishers have the following
‭
                                     ‬
                                         ‭
                                                                                                                                                                             ‬
                                                                                                                                                                                         ‭
                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
options to sign up for access to the GAM platform:
‭
                                                                                                                                                                                                                                                                                                                                                                                                                  ‬
        1. Small Business Free. There is no contract required for Small Business Free, as a
        ‭
                ‬
                             ‭
                                                                 ‬
                                                                             ‭
                                                                                                                                                                     ‬
                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                              ‭
                                                                                                                                                                                                                                                                                                                                                                                  ‬
                                                                                                                                                                                                                                                                                                                                                                                          ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
           publisher only      needs    to agree       to the terms and conditions at
                             ‭
                                                                                                 ‬
                                                                                                                                 ‭
                                                                                                                                                                                 ‬
                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                                                                                                                                      ‭
                                                                                                                                                                                                                                                                                                                                                                                                      ‬
                                                                                                                                                                                                                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
           https://admanager.google.com/terms/free/na.
                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                                      ‬‭
                                                                                                                                                                                                                                                                                                                                                                                                                           ‬
        2. Multiple Account Management (“MCM”). With MCM, publishers can contract for
        ‭
                ‬
                             ‭
                                                                                                 ‬
                                                                                                             ‭
                                                                                                                                                                                                 ‬
                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                                                                               ‬‭
                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
           access to GAM with a third-party provider already on GAM that is approved to act in this
                             ‭
                                                                     ‬
                                                                             ‭
                                                                                                 ‬
                                                                                                         ‭
                                                                                                                                                         ‬
                                                                                                                                                                 ‭
                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                              ‬
                                                                                                                                                                                                                                                                                                                                                                                                                  ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
           capacity (referred to as an “MCM parent”). See, e.g., an example of the contract
                             ‭
                                                                                         ‬
                                                                                                         ‭
                                                                                                                                                                                             ‬
                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                          ‬
                                                                                                                                                                                                                                                                                                                                                                                      ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
           addendum between Google and an MCM parent, GOOG-AT-MDL-008927970. For
                             ‭
                                                                                                                 ‬
                                                                                                                             ‭
                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                          ‬
                                                                                                                                                                                                                                                                                                                                                                                      ‭
                                                                                                                                                                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
           almost all MCM arrangements, the contracting publisher (referred to as an “MCM child”)
                             ‭
                                                                         ‬
                                                                                 ‭
                                                                                                             ‬
                                                                                                                     ‭
                                                                                                                                                                     ‬
                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                                                                                                                              ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
           has a contract with the MCM parent regarding the MCM parent’s management of
                             ‭
                                             ‬
                                                         ‭
                                                             ‬
                                                                             ‭
                                                                                                                                                     ‬
                                                                                                                                                                     ‭
                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                              ‬
                                                                                                                                                                                                                                                                                                                                                                                                          ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
Case 4:20-cv-00957-SDJ                                                                                                                                                                                                                                            Document 704-20 Filed 12/09/24                                                                                                                                                                                                                                                                                                                                                                                                        Page 3 of 5 PageID #:
                                                                                                                                                                                                                                                                             39343
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            CONFIDENTIAL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               April 9, 2024




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Page 2




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                        inventory on its behalf.1




                                                                                                                                                                                                                                                              ‭
                                                                                                                                                                                                                                                                      ‬
                        ‭
                                                                                                                                                                                                                                                              ‬
                3. Self Service contracts.
                ‭
                    ‬
                        ‭
                                                                                                                                                                                                                                                         ‬‭
                                                                                                                                                                                                                                                                  ‬
                                                    a. Self Service delinquent sign-up – these are contracts that publishers enroll in after
                                                    ‭
                                                                        ‬
                                                                                             ‭
                                                                                                                                     ‬
                                                                                                                                             ‭
                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                       they exhaust the threshold of free impressions in Small Business Free. There is
                                                                                             ‭
                                                                                                                                         ‬
                                                                                                                                                 ‭
                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                       no option to enable access to AdX. Google will produce the template of this
                                                                                             ‭
                                                                                                                     ‬
                                                                                                                                 ‭
                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
                                                       contract to Plaintiffs.
                                                                                             ‭
                                                                                                                                                                                                                                                                                                                        ‬
                                                    b. Self Service account manager – these contracts are serviced by a Google account
                                                    ‭
                                                                        ‬
                                                                                             ‭
                                                                                                                                     ‬
                                                                                                                                             ‭
                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                       management team. Through this process, a publisher can sign up through
                                                                                             ‭
                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                       clickwrap agreements for DFP Small Business and AdX Services (see, e.g., this
                                                                                             ‭
                                                                                                                                                                                             ‬
                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                       template at GOOG-DOJ-AT-01134520) and for DFP Premium and AdX Services
                                                                                             ‭
                                                                                                                                                                                 ‬
                                                                                                                                                                                     ‭
                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
                                                       (Google will produce the template of this contract to Plaintiffs).
                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                4.                          A publisher can sign up for GAM services through the Google Ad
                ‭
                    ‬
                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
                        Manager 360 Service Form (see, e.g. GOOG-TEX-00980662) and the Google Ad
                        ‭
                                                                                                     ‬
                                                                                                                             ‭
                                                                                                                                                                 ‬
                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                              ‬
                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                        Manager Small Business Service (see., e.g. GOOG-DOJ-06873988). These contracts are
                        ‭
                                                                                                     ‬
                                                                                                                 ‭
                                                                                                                                                                         ‬
                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                        serviced by a Google account management team. Publishers can choose to negotiate the
                        ‭
                                                                                                 ‬
                                                                                                         ‭
                                                                                                                                     ‬
                                                                                                                                             ‭
                                                                                                                                                         ‬
                                                                                                                                                                 ‭
                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
                        terms of these contracts.
                        ‭
                                                                                                                                                                                                                                                                           ‬
Google’s publisher ad server. Google estimates that there are currently              publisher
‭
                                ‬
                                        ‭
                                                                                                                                                 ‬
                                                                                                                                                             ‭
                                                                                                                                                                                     ‬
                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                           ‬‭
                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
          2
networks on GAM with access to Google’s publisher ad server. Google provides the following
                                ‭
                                    ‬
‭
                                ‬
                                            ‭
                                                                            ‬
                                                                                    ‭
                                                                                                                                             ‬
                                                                                                                                                     ‭
                                                                                                                                                                                                 ‬
                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
information as to the association between these publisher networks and the contracting options
‭
                                                            ‬
                                                                    ‭
                                                                                             ‬
                                                                                                 ‭
                                                                                                                     ‬
                                                                                                                                 ‭
                                                                                                                                                                 ‬
                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
listed above.
‭
                                                                    ‬
                1. Small Business Free. There are currently                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     publisher networks on GAM that
                ‭
                    ‬
                        ‭
                                                                                ‬
                                                                                         ‭
                                                                                                                                                                                 ‬
                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                                           ‭
                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                   were established through Small Business Free.
                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                2. MCM. There are currently                                                                                                                                                                                                                                                                                                                                                                                                 publisher networks on GAM through the MCM
                ‭
                    ‬
                        ‭
                                                                                    ‬‭
                                                                                         ‬
                                                                                                             ‭
                                                                                                                                                                     ‬
                                                                                                                                                                                 ‭
                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                   process.3
                                                                                                 ‭
                                                                                                     ‬
                        ‭
                                                                                                 ‬
                3. Self Service contracts. There are currently          publisher networks on GAM that
                ‭
                    ‬
                        ‭
                                                        ‬
                                                                    ‭
                                                                                                                                                 ‬
                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                      ‬‭
                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                   were established through Self Service contracts. Of these,      publisher networks are
                        ‭
                                                                ‬
                                                                            ‭
                                                                                                                                                                                         ‬
                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                   on GAM through Self Service delinquent sign-up and           are on GAM through Self
                        ‭
                                    ‬
                                                ‭
                                                                                                         ‬
                                                                                                                         ‭
                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                      ‭
                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                   Service account manager.
                        ‭
                                                                                                                                                                                                                                                                                            ‬
                4.                                                                                                                                                                                                           There are currently                                                                                                                                                                                                                                                                                publisher networks on GAM that were
                ‭
                    ‬
                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ‬
                        established through
                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                    ‬
1
  See additional information on MCM here:
‭
    ‬
            ‭
                                                                                                                                                                                                                                                                                                                            ‬
https://support.google.com/admanager/answer/11130475?hl=en&sjid=12943915249312001127-NA.
‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ‬
2
  Publisher networks are the entities that a publisher logs into to configure the specific settings of their account. A
‭
    ‬
        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
single publisher could have multiple publisher networks, each with their own ID.
‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
3
  These are a subset of publisher networks on GAM through Small Business Free, Self Service contracts, and Simba
‭
    ‬
            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ‬
contracts.
‭
                            ‬
Case 4:20-cv-00957-SDJ                                                                                                                                                                                                                                 Document 704-20 Filed 12/09/24                                                                                                                                                                                                                                                                                                                                                                           Page 4 of 5 PageID #:
                                                                                                                                                                                                                                                                  39344
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                CONFIDENTIAL




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   April 9, 2024




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Page 3




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
AdX. Of the          publisher networks on GAM using Google’s publisher ad server, only
‭
                        ‬‭
                             ‬
                                         ‭
                                                             ‬
                                                                         ‭
                                                                                          ‬
                                                                                                                                                                                           ‬
                                                                                                                                                                                                   ‭
                                                                                                                                                                                                                                                                                       ‬
                                                                                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                                                                                                                       ‬
                                                                                                                                                                                                                                                                                                                                                                                   ‭
                                                                                                                                                                                                                                                                                                                                                                                                       ‬
                                                                                                                                                                                                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
       networks have AdX enabled. Those networks are organized by the method of access to
                                                 ‬
                                                         ‭
                                                                                                                                       ‬
                                                                                                                                           ‭
                                                                                                                                                                                       ‬
                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                       ‬
                                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                                                                       ‬
                                                                                                                                                                                                                                                                                                                                   ‭
                                                                                                                                                                                                                                                                                                                                                                                       ‬
                                                                                                                                                                                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
GAM below.4
                                                                                      ‭
                                                                                              ‬
‭
                                                                                      ‬
            1. Small Business Free. Publishers on GAM through Small Business Free do not have
            ‭
                             ‬
                                             ‭
                                                                                          ‬
                                                                                                           ‭
                                                                                                                                                                                       ‬
                                                                                                                                                                                                   ‭
                                                                                                                                                                                                                                                   ‬
                                                                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                                                                                                       ‬
                                                                                                                                                                                                                                                                                                                                                                   ‭
                                                                                                                                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                                                                                                                                       ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
               access enabled to AdX.
                                             ‭
                                                                                                                                                                                                                                                       ‬
            2. MCM.                                                                                                         Of the             publisher networks on GAM through the MCM process,
            ‭
                             ‬
                                             ‭
                                                                                                  ‬‭
                                                                                                           ‬
                                                                                                                               ‭
                                                                                                                                                   ‬
                                                                                                                                                               ‭
                                                                                                                                                                                               ‬
                                                                                                                                                                                                                                                                                               ‬
                                                                                                                                                                                                                                                                                                           ‭
                                                                                                                                                                                                                                                                                                                                                                                       ‬
                                                                                                                                                                                                                                                                                                                                                                                                   ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                           publishers networks have access enabled to AdX.




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
            3. Self Service contracts. Publishers networks on GAM through Self Service delinquent
            ‭
                             ‬
                                             ‭
                                                                             ‬
                                                                                 ‭
                                                                                                                                                   ‬
                                                                                                                                                           ‭
                                                                                                                                                                                                                                                                   ‬
                                                                                                                                                                                                                                                                                   ‭
                                                                                                                                                                                                                                                                                                                                                               ‬
                                                                                                                                                                                                                                                                                                                                                                           ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
               sign-up do not have the option to enable access to AdX. The       publisher networks
                                             ‭
                                                                                                               ‬
                                                                                                                       ‭
                                                                                                                                       ‬
                                                                                                                                           ‭
                                                                                                                                                                       ‬
                                                                                                                                                                               ‭
                                                                                                                                                                                                                       ‬
                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                   ‬
                                                                                                                                                                                                                                                                           ‭
                                                                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                                                                                               ‬
                                                                                                                                                                                                                                                                                                                                                   ‭
                                                                                                                                                                                                                                                                                                                                                                                                               ‬
                                                                                                                                                                                                                                                                                                                                                                                                                       ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
               on GAM through Self Service account manager contracts have access enabled to AdX.
                                             ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
            4.                                                   The                                                                                                                                                                                                                                                                       publisher networks on GAM through
            ‭
                             ‬
                                                                                                                                                                                                       ‬
                                                                                                                                                                                                                           ‭
                                                                                                                                                                                                                                                                       ‬
                                                                                                                                                                                                                                                                                                                                   ‬
                                                                                                                                                                                                                                                                                                                                           ‭
                                                                                                                                                                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                             have access enabled to AdX.
                                             ‭
                                                                                                                                                                                                                                                                                                       ‬
AdX Direct. Google does not offer a contract for AdX Direct. AdX Direct is a name given to
‭
                        ‬
                                 ‭
                                                                                 ‬‭
                                                                                      ‬
                                                                                                           ‭
                                                                                                                                                                   ‬
                                                                                                                                                                           ‭
                                                                                                                                                                                                                   ‬
                                                                                                                                                                                                                           ‭
                                                                                                                                                                                                                                                               ‬
                                                                                                                                                                                                                                                                       ‭
                                                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                                                                                                                                                   ‬
                                                                                                                                                                                                                                                                                                                                                                                                           ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
publisher configurations that integrate with Google Ad Manager’s ad exchange using its “Ad
‭
                                                             ‬
                                                                     ‭
                                                                                                                                                                                                   ‬
                                                                                                                                                                                                           ‭
                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                       ‭
                                                                                                                                                                                                                                                                                                                               ‬
                                                                                                                                                                                                                                                                                                                                       ‭
                                                                                                                                                                                                                                                                                                                                                                               ‬
                                                                                                                                                                                                                                                                                                                                                                                       ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
Exchange tag.” The feature is disclosed in GAM’s help center5 and available in the Ad Manager

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
‭
                                                                 ‬
                                                                         ‭
                                                                                                                   ‬
                                                                                                                           ‭
                                                                                                                                                       ‬
                                                                                                                                                               ‭
                                                                                                                                                                                                                               ‬
                                                                                                                                                                                                                                       ‭
                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                   ‭
                                                                                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                                                                                                   ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
User Interface. Any publisher with a GAM ad exchange account can access AdX Direct.
‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
Because AdX Direct is implemented by the placement of appropriate tags on web pages, apps, or
‭
                                                 ‬
                                                         ‭
                                                                                              ‬
                                                                                                           ‭
                                                                                                                                                       ‬
                                                                                                                                                               ‭
                                                                                                                                                                                   ‬
                                                                                                                                                                                           ‭
                                                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                                                                                   ‬
                                                                                                                                                                                                                                                                                                                                       ‭
                                                                                                                                                                                                                                                                                                                                                               ‬
                                                                                                                                                                                                                                                                                                                                                                       ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
video content (or third-party ad servers), and not by signing up for a service with Google, Google
‭
                             ‬
                                     ‭
                                                                                          ‬
                                                                                                   ‭
                                                                                                                           ‬
                                                                                                                                   ‭
                                                                                                                                                                                                                               ‬
                                                                                                                                                                                                                                   ‭
                                                                                                                                                                                                                                                               ‬
                                                                                                                                                                                                                                                                       ‭
                                                                                                                                                                                                                                                                                                                                       ‬
                                                                                                                                                                                                                                                                                                                                           ‭
                                                                                                                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                                                                                                                   ‭
                                                                                                                                                                                                                                                                                                                                                                                                               ‬
                                                                                                                                                                                                                                                                                                                                                                                                                   ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
does not have the ability to generate a definitive list of the publishers using AdX Direct.
‭
                    ‬
                             ‭
                                                     ‬
                                                                 ‭
                                                                                                       ‬
                                                                                                                   ‭
                                                                                                                                       ‬
                                                                                                                                               ‭
                                                                                                                                                                                                       ‬
                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                               ‬
                                                                                                                                                                                                                                       ‭
                                                                                                                                                                                                                                                                                                                   ‬
                                                                                                                                                                                                                                                                                                                           ‭
                                                                                                                                                                                                                                                                                                                                   ‬
                                                                                                                                                                                                                                                                                                                                           ‭
                                                                                                                                                                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                   ‬
Over the time period            , AdX Direct has constituted approximately                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              of total US
‭
                        ‬
                                     ‭
                                                         ‬
                                                                     ‭
                                                                                                           ‬
                                                                                                                       ‭
                                                                                                                                                                       ‬
                                                                                                                                                                                                                                                                                           ‬
                                                                                                                                                                                                                                                                                                   ‭
                                                                                                                                                                                                                                                                                                                                       ‬
                                                                                                                                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                                                                                                                                                       ‬
                                                                                                                                                                                                                                                                                                                                                                                                               ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
end-user web display impressions for worldwide-billed web property IDs.
‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ‬
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ‬
4
  There are         networks with access enabled to AdX for which Google is unable at this time to confirm which
‭
    ‬
        ‭
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
contract they were established by.
‭
                                                                                                                                                                                                                           ‬
5
  See https://support.google.com/admanager/answer/7501422.
‭
    ‬
        ‭
                ‬
                    ‭
                                                                                                                                                                                                                                                                                                                                                                                                                               ‬‭
                                                                                                                                                                                                                                                                                                                                                                                                                                        ‬
Case 4:20-cv-00957-SDJ   Document 704-20 Filed 12/09/24         Page 5 of 5 PageID #:
                                    39345
                                                                    ‭CONFIDENTIAL‬
                                                                        ‭April 9, 2024‬
                                                                                ‭Page‬‭4‬


                                         ‭Sincerely,‬

                                         ‭/s/ Robert J. McCallum‬

                                         ‭Robert J. McCallum‬
